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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,             §
     Plaintiffs,                                 §
                                                 §    Case No. 5:21-cv-844-XR
 v.                                              §    [Consolidated Cases]
                                                 §
 GREGORY W. ABBOTT, et al.,                      §
     Defendants.                                 §


           STATE DEFENDANTS’ SUPPLEMENTAL NOTICE OF APPEAL

       Defendants Greg Abbott, in his official capacity as Texas Governor; Jane Nelson, in her

official capacity as Texas Secretary of State; Warren “Ken” Paxton, in his official capacity as

Attorney General of Texas; and the State of Texas (collectively “State Defendants”) hereby

appeal to the U.S. Court of Appeals for the Fifth Circuit this Court’s Order Granting Stay Pending

Appeal entered on March 28, 2025. This order modified and clarified the Court’s earlier March

14, 2025, Order to permanently enjoin Texas Election Code §§°84.002(a)(1-a), 84.002(b-1),

84.011(a)(3-a), 86.001(f), 86.001(f-1), and 86.001(f-2) as being violative of the Americans with

Disabilities Act and Section 504 of the Rehabilitation Act. See ECF No. 1210; and 28 U.S.C.

§ 1292(a)(1). State Defendants filed a notice of appeal against the earlier order on March 26, 2025.

ECF No. 1208.




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 Date: April 24, 2025                       Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on April 24, 2025, and that all counsel of record were served by CM/ECF.

                                            /s/ Kathleen T. Hunker
                                            KATHLEEN T. HUNKER




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